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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE
 RUBINGH,                                         No. 2:20-cv-13134


               Plaintiffs,                        Hon. Linda V. Parker
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

               Defendants,

  and

 CITY OF DETROIT, et al,

               Intervenor-Defendants.

 INTERVENOR-DEFENDANT CITY OF DETROIT’S EX PARTE MOTION
                 TO EXTEND PAGE LIMIT

        Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

respectfully requests leave to file its Reply in Support of Motion for Sanctions, for

Disciplinary Action, for Disbarment Referral, and for Referral to State Bar




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Disciplinary Bodies in excess of the page limit. In support of this request, the City

states:

          1.   Plaintiffs filed a 47-page Response to the City’s Motion for Sanctions,

for Disciplinary Action, for Disbarment Referral, and for Referral to State Bar

Disciplinary Bodies (ECF No. 95).

          2.   Pursuant to Local Rule 7.1(d)(3), a reply brief may not exceed 7 pages.

However, the Rule permits parties to apply ex parte to file a longer brief. Moreover,

this Court has encouraged parties to request a page limit extension “[w]hen page

limits are inadequate for a party’s needs ….” Elhady v Bradley, 438 F. Supp. 3d 797,

821 n. 11 (E.D. Mich. 2020).

          3.   The City requests leave to file a reply brief not to exceed 20 pages

excluding the signature block, in order to address the full scope of legal and factual

issues raised by, and incorporated into, Plaintiffs’ Response.

          4.   The City has attempted to limit the length of the brief without

sacrificing clarity and/or its ability to address the factual and legal issues supporting

its reply. However, due to the number of factual and legal issues needing to be

addressed, the City, through counsel, has been unable to limit the brief to 7 pages.

Candidly, the process of shortening the brief was interrupted by the sudden death of

Darryl Bressack, our partner, who died of a massive heart attack Sunday night.




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      WHEREFORE, the City respectfully requests that this Court permit it to file

a reply brief not to exceed 20 pages excluding the signature block in support of its

Motion for Sanctions, for Disciplinary Action, for Disbarment Referral, and for

Referral to State Bar Disciplinary Bodies.

                                             Respectfully submitted,

                                             FINK BRESSACK

                                             By: /s/ David H. Fink
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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 26, 2021, I electronically filed the foregoing

paper with the Clerk of the court using the electronic filing system, which sends

notice to all counsel of record.

                                      FINK BRESSACK

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